
39 So.3d 349 (2010)
John WEST, Appellant,
v.
QUORUM HEALTH RESOURCES, LLC; Michael Kozar and Chuck Ellis, Appellees.
No. 1D09-2286.
District Court of Appeal of Florida, First District.
June 4, 2010.
Rehearing Denied July 19, 2010.
Bruce Alexander Minnick of the Minnick Law Firm, Tallahassee, for Appellant.
Gary A. Shipman, William E. Whitney, and Rebecca F.S. Drube of Dunlap &amp; Shipman, P.A., Santa Rosa Beach, for Appellees.
PER CURIAM.
AFFIRMED. See Pedroni v. Pedroni, 788 So.2d 1138 (Fla. 5th DCA 2001) (issues raised on appeal challenging award of attorney's fees and costs not preserved *350 where neither appellant nor appellant's counsel appeared at fee hearing).
KAHN, ROWE, and MARSTILLER, JJ., concur.
